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" also admitted in MA




              Hon. Lawrence E. Kahn
              Senior Judge, U.S.D.C., N.D.N.Y.
              James T. Foley U.S. Courthouse
              Room 424
              445 Broadway
              Albany, New York, 12207-2936

              Re:        Anne Pope, et al. v. County of Albany and Albany County Board of Elections
                         Civil Action #ll-CV -736

              Dear Judge Kahn:

                      As ordered, see Dkt. No. 427 at 80-81, enclosed please find the County's remedial plan
              with five majority DOJ Black Districts, including the attached County-wide map and Census
              Bureau Equivalency Tables for each of the 39 Districts. For the Court's information, enclosed
              also is a map of the MMDs with DOJ Black and combined DOJ Black and Hispanic voting age
              popUlation percentages.

                                                    Respectfully submitted,

                                        MURPHY, BURNS, BARBER & MURPHY, LLP

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